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"
                                IN THE UNITED STATES DISTRICT COURT

                       ~'~~~5f)E EASTERN DISTRICT OF PENNSYLVANIA
                 P'' ' ,,
               ~~-~\ ~~~ ,~~
                      ~'0,~ '




    MICHAEL NUTTER,, MAYOR OF                     Case No.:         19        3396
    PHILADELPHIA;, LOUIS GIORLA,,                 JURY TRIAL DEMANDED
                                                  CIVIL ACTION
    COMMISSIONER OF PHILADELPHIA , PRISON

    SYSTEM;, JOHN DELANEY, , WARDEN OF

    CURRAN-FROMHOLD, CORRECTIONAL

    FACI,LITY i I DEFENANTS I

                  Defendant




                                COMPLAINT PURSUANT TO CIVIL
                                RIGHTS ACT~ 42 U.S.C.§§ 1983


                                             ACTION


       1.         This is an action under 42 u~s.c.     §   19831   seek~ng   damages and

            other relief arising out· of the violation of plaintiff's Constitutiona),.

            rights during a course of confinement within the Philadelphia Prison

            System.




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                                      PARTIES

                        ~

2.          Plaintiff~e5\.l!> bv.~OS is an individual citizen of the
      United States, who currently +esides in Pennsylvania.

3.          Defendant Michael Nutter, Mayor of Philadelphia is a

      municipality, which owns, operates, controls and promulgates policies

      governing the PPS, including but not limited to policies affecting

      conditions of confinement for pretrial detainees and convicts housed

      within the system.

4.          Defendant Louis Giorla is the Commissioner of the Philadelphia·

      P+ison. system (PPS) . He is charged with the managing and overseeing all

      daily operations at ~FCF.

5.          Defendant John Delaney is the Warden at Curran-Fromhold

      Correctional Facility (CFCF). He is charged with the managing and

      overseeing all operations at CFCF.

                                       FACTS


6.          The population confined within the PPS consists of a significant

      number of pretrial detainees resumed innocent of a crime. The remainder

      of the population consists primarily of convicted persons sentenced to

      term of less then two years imprisonment, and other convicted persons

      awaiting transfer to state or federal prisons.

7.          The Plaintiff is currently housed on a unit .originally

      constr~cted -to   hold 64 inmates. However, due to severe overcrowding

      conditions, the general population units house 96 inmates, while the

      quarantine units house 112 inmates.


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8.          Of the 112, and 96 i'nmates, the plaintiff is        foi:r"rl I•'   ii··


      7'xl0' cell with two other inmates; the cell was originally designed to

      hold two people, but due to severe overcrcwding a third man sleeps on a

      plastic "boat" next t.o the cells toilet and is exposed to urine and

      fecal matter.

9.          The plaintiff has   ~pent   the "majority of the period of his

      pretrial detention" confine to his overcrowded and unsanitary cell.

      Plaintiff's harsh conditions of nearly continues lockdowns are

      subjecting him to; inadequate medical° care, "risk of serious harm,"

      barring basic "life's necessities" and/or "human needs," barr.ing him

      access to the courts and alienating him from his family ..

10.         As a direct result of the severe overcrowding, the plaluLJ.;:J. lL.

      subject to constant lockdowns; which prevent him from showering on a

      daily basis or maintaining an otherwise clean appearance.

11.         The const.ant lockdowns prevent adequate sanitation of the cells,

      unit and showers. The showers that are operable are covered with black·

      mold and in disrepair, and the cells are infested with insects and

      rodents.

12.         The basic, pervasive overcrowding in the PPS is related to, and

      made worse by other deleterio.us conditions maintained by the City as a

      matter of practice and policy. These conditions include:



         a) Inadequate "day room" and.recreational space;

         b) Poor ventilation and air quality, and maint.enance of exhaust

            grills and. intake ven.ts are in unsanitary Ol:' "pluggQtl"

            conditions;


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          c) Routine provision to inmates of torn, stained or damaged

               mattresses, often with no cover, o.r with a stained sheets, towels

               and blankets;

          d)   M~intenance   of inadequate laundry practices, including a

               systematic failure to assure that inmates laundry is done each'

               week, and failure to assur~ that the laundry is returned i~ a

               properly dry co.ndition, forcing inmates to wash tlle1:e · clo.llles 111

               sinks and 'toilets in the cells, further exacerbating the

               unhealthy ~nd crowded conditions therein and increasing the risk

               of infectious disease;

          e) Failure to train correction officers and other staff to

               supervise, manage or deal adequately with the over.crowded and··

               unhealthy conditions in the PPS.

13..           Triple-celling leaves an unconscionably small amount of

       unencumbered space within the cells, as well as impede movement and

       egress, forcing inmates into. close physical proximity, engendering a

       high risk for the spread of infectious disease, physical i11j ul.y, .;1w.l

       violence.

14.             As a result of overcrowding, the attendant s~curity and safety

       problems it causes, and the City's deliberate failure to provide

       adequate staffing, the PPS population as a whole has increasingly been

       subjected to extended periods of "restricted movement" and "lockdowns"

       resulting in a denial of access to important program services.

15.            As further result of overcrowding, CFCF is understaffed. Constant

       lockdowns are due to a shortage of staff members, most of whom

       chronically call-out·of work or refuse to work and/or refuse Lo oprn·np


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      in the dangerous and unhealthy conditions created by the severe

      overcrowding.

                                   DECLARATIO'.N




16.         Plaintiffs rights to the FIRST, FIFTH, EIGHTH, and FOURTEENTH

      AMENDMENTS of the United States Constitution are being violated as a

      pretrial de.tainee· by the Commonwealth Administration kn.own tts Mli~yor vr.:

      Philadelphia and City managing·director where funds are being devoted

      to obstruct the plaintiff's aforementioned rights under the

      Constitution by placing the plaintiff in four (4.) man cells, converted

      from recreation storage closets, without windows, manual light switches

      and/or desk, as well as being placed in three (3) man.cells, which were

      initially only designed for. two (2) .man celling, which actually

      violated the aforementioned Amendments, as well as City Codes, Fire

      Codes, Personal Space Clause, Boca Laws and Occupancy.

17.         The aforementioned.defendants named in this Civil Action are

      employees of the County of Philadelphia-, (i.e. City Managing Director,

      Commissioner and Warden of Curran-Fromhold Correctional Facility) .

      Therefore, these employees are considered and/or labeled as employees

      in this action. "Under Color of State Law" in which they have violated

      the plaintiffs aforementioned Constitutional Rights in their respected

      positions and/or status there of.




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  18.         Plaintiff has filed numerous grievances that have gone ·

        unanswered.

  19.         The first submitted grievance was submitted on my unit C.,- /- {

        which was never retrieved by any prison official. The next grievance

        submitted was deposited under major Abello office door, there was no

    . response. Within the grievance describes aforementioned plight.




                                RELIEF REQUESTED


  20.         For the foregoing reasons, in regard to the defendants violating

        the plaintiff's rights under local City Codes, Fire Codes, Personal

        Space Clause, Occupancy Laws and Boca Laws, which has ultimately

        violated ~he plaintiffs right under the aforementioned Amendments· under

        the United States Constitution, the plaintiff now seeks $ s,000.00 in

        compensatory damages as well as seeks $ l,500.00 in punitive damages

        for each day the plaintiff was unlawfully housed in a four man cell, as

        well as been housed unlawtully i~ a three man cells.



   I declare·under the penalty of perjury that the foregoing is true and

correct.




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       I also declare that the foregoing civil action and/or complaint is being

mailed to the clerk of the United States District· Court of the Eastern

District of Pennsylvania, Postage pre-paid by U.S. Mail

On this     ~day of -s\A r-.f e    t   201~




                                                            Respectfully submitted

Date:                                               Signe&~0~
                                                               PP#   ?12- ~ys
                                                               7901 State Road

                                                               Philadelphia, PA. 19136




<Batts. ·




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